4/7/2017                                Leaders to B.P.C.A.: Community’s needs are not marginal | DOWNTOWN EXPRESS
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            January 3, 2015 ­ 13:22



   Yes, the BPCA = Cuomo and exists solely to dole out gifts to Cuomo donors and friends. My view of the scenario:
   Farkus has already been given the marina, deal negotiated months if not a year ago. After being handed our public
   parkland on a silver platter, Farkas will then proceed to buy Brookfield property as it is up for sale. Then Farkas owns
   that entire chunk of BPC land and the community can kiss it goodbye as it is further developed.
   Reply


            McNulty
            January 6, 2015 ­ 12:51


   BPCA " no to community , yes to massive fundraisers "
   Reply




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    Comment 




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           Post Comment




   The Villager                                  Gay City News
    Has St. Luke’s dropped L.G.B.T.               What the Seventh Circuit Said About
    drop­in center plan for Christopher           Sexual Orientation Discrimination
    St.?
                                                  Living History
    Baker sewed rainbow flag that sowed
    Pride worldwide                               Gilbert Baker, Whose Rainbow Flag Sewed
                                                  LGBTQ World Together, Dies Suddenly at
    Push to name Morton school for                65
    Jane Jacobs, get after­school funds
                                                  BULLETIN –– Gilbert Baker, Rainbow Flag
    Smorgasburg will take a bite of               Creator, Has Died
    Hudson Square

                                                 East Villager News
   Chelsea Now
                                                  Best in Screen, 2015
    Soup Kitchen Braces for Trump                                                                                             FOOTER3
    Budget Cuts                                   A Coney Island of the East Village at City
                                                  Lore
    At Fountain House Gallery, Art
    Frames Focus on Mental Health                 NYCHA will build on ‘hot’ East Side, chief
                                                  assures
    Timothy Caughman Remembered as
    Living in a ‘State of Joy’
                                                                   FOOTER2

                     FOOTER1



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4/7/2017                             Leaders to B.P.C.A.: Community’s needs are not marginal | DOWNTOWN EXPRESS
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    but questions remain unanswered                                                                                                         Custom Search

      January 22, 2015 |     Filed under: News |    Posted by: Josh Rogers

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                  Dennis Mehiel, chairperson and C.E.O. of the Battery Park City Authority, at the Thurs.,
                          Jan.22 meeting. Downtown Express photo by Dusica Sue Malesevic



    BY DUSICA SUE MALESEVIC  | The speculation is over: Michael Fortenbaugh is officially out of
    North Cove Marina as the Battery Park City Authority named Brookfield Office Properties and its
    partner Island Global Yachting the marina’s operator at their Thurs., Jan. 22 morning meeting.

    Brookfield Properties will pay $4.5 million in license payments over ten years, as well as an up­front
    capital improvement offer of $450,000 for the marina: lighting, new signage and landscaping, said
    Shari Hyman, president and C.O.O. of the authority.

    Fortenbaugh’s North Cove Marina Management was paying the authority $300,000 a year and
    offered $400,000 during this bidding process.

    The meeting took place at 200 Liberty St., once the World Financial Center and now Brookfield
    Place. Supporters of Fortenbaugh, who has run the marina for the past ten years, lined up downstairs
    to attend the meeting. The room adjacent to the boardroom was packed and many carried signs that
    said “Stop Albany Pay­to­Play.” 



http://www.downtownexpress.com/2015/01/22/authority­picks­brookfield­to­run­battery­park­city­marina­but­questions­remain­unanswered/                                                 1/7
4/7/2017            CaseAuthority picks Brookfield to run Battery Park City marina, but questions remain unanswered | DOWNTOWN EXPRESS
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    Fortenbaugh said that initially the authority was only going to allow 24 people into the meeting, but
    then relented.

    Dennis Mehiel, the chairperson and C.E.O. of the authority explained its position before a vote was
    taken on the request for proposals, or R.F.P., for the marina operator.

    Community Board 1 had passed a resolution in December asking that the B.P.C.A. to withdraw the
    current R.F.P. process and asked for more community input. Elected officials then wrote a Dec. 29
    letter to the authority supporting C.B. 1’s unanimously passed resolution.

    Mehiel said that the authority was “pleased” and “overwhelmed a little bit at the tremendous
    interest” that the community has shown in the meeting. 

    “In two and half years or a little more that I’ve been here, I’ve never seen such a crowd,” he said. 

    He stressed that the authority has protocols that are not subject to discretion and that the very
    specific guidelines and protocols are mandated by the state law.

    Mehiel said that the authority “satisfied” itself that it had made the right decision on the successful
    bidder in the extra time that it had after the unplanned delay at its December meeting — the board
    did not have a quorum for the vote because Mehiel did not attend and member Martha Gallo recused
    herself.

    “We took that time, went back, spent a little bit more time with the successful bidder, clarified our
    expectations and their commitments,” he said, “and decided again that we are doing the right thing
    for Battery Park City residents, for the marina, for the community at large and, of no small
    significance, for the taxpayers. 

    “This board and this authority has a fiduciary responsibility to the tax players of the state of New
    York. They own us. And that includes the residents of Battery Park City … We take that seriously.”

    Mehiel said that when the R.F.P. was issued, the current operator, Fortenbaugh was invited to bid.
    He did not refer to Fortenbaugh by name, calling him the “incumbent.”

    “We got the bids in. We looked at it, we saw the deficiencies,” said Mehiel. “We do value incumbency,
    we do not ignore incumbency so we decided to invite all the bidders in for additional meetings.”

    Mehiel did not offer details of the bid’s “deficiencies.”

    “The dialogue with the incumbent operator did not improve the standing in a relatively competitive
    process,” he said. “However it came about, the incumbent discerned, concluded, yes, that he might
    not be [the] successful bidder.” 

    The authority has received letters and phone calls from the community, the community board and
    elected officials, he said.

    “It’s all their right to do that,” said Mehiel. “But when you think about it, what it really amounts to is
    an individual bidder in a R.F.P. process who believes he is unsuccessful and decides to mount political
    pressure on the authority to subvert our process and preserve his economic interests in the operation
    of the marina.”

    The crowd in the back started booing after Mehiel said that. 

    “When we don’t respond with a change in our process or protocol, we are accused of running a
    process subject to political manipulation by the governor of the state of New York,” said Mehiel. “We
    start with political pressure to change the outcome. If it’s not successful we accuse the authority of
    having political pressure to have made the decision that we are going to vote on this morning.”

    He also answered questions about the fact that his yacht has sometimes docked at Brookfield’s
    partner, Island Global Yachting marinas. Andrew Farkas is the chairperson of IGY and was one of the
    largest contributors to Governor Andrew Cuomo’s campaign.

    “I own a yacht,” he said. “Guilty. Guilty as charged.” 

    He said that the boat lives in the Caribbean and the “suggestion is put forward that businesses
    conducted between my boat and IGY, that is to say Mr. Farkas’ company has somehow contaminated
    this process and I [have] a conflict [of interest] and should recuse myself. Preposterous.”

    Cries of “yes, yes” were heard from the people in the back. People yelled questions and when Mehiel
    didn’t respond, “answer the question” was shouted.

    “We don’t have questions, unfortunately,” he said. “I apologize for this — with the protocols that we
    have here there are no public comments and we can’t change that precedent unfortunately.”

    When pressed again, he reiterated that there is no public comment during the meeting. “I don’t want
    to get into a dialogue,” he said to many laughs in the room.

    Many within the community decried the lack of transparency of this R.F.P. process.

    Michael Connolly, a member of the Fortenbaugh’s sailing club, said after the meeting that he had
    never heard about a public hearing and that the fact that Brookfield would take over the marina as
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    operator was “pretty unfair.”

    “It is disappointing that the Battery Park City Authority ignored the resolution from the community
    to withdraw the R.F.P.,” said Tammy Meltzer, C.B. 1 member, by phone. 

    Ina Woronoff, whose husband is a member of the club, said, “It’s disgusting that big business takes
    away pleasure from this community and from people in this city.”

    James Sinclair, a sailing club member for 15 years, said that the authority didn’t listen and didn’t want
    a discussion.

    “Mr. Mehiel referred to political pressure, it was community pressure,” said Sinclair.

    Manhattan Borough President Gale Brewer attended the meeting and told Downtown Express that
    moving forward, “We’ll see what we can do.” 

    Meltzer said, “A greater conversation needs to be had” about the authority’s relationship with the
    community.

    “At the end of the day, it is a state agency that runs a local community,” said Meltzer, who said she
    couldn’t think of another area in the city that the state controls without any major community input. 

    Brewer, along with Congressman Jerrold Nadler, State Senator Daniel Squadron and
    Councilmember Margaret Chin sent a Jan. 22 letter to Governor Cuomo asking for more local
    representation, asking him to “take advantage of current vacancies and appoint additional residents
    to the board as soon as possible.”

    They also requested that “moving forward, major authority decision­making, including R.F.P.s
    incorporate local input.”

    “Today the B.P.C.A. failed to provide the Battery Park City community with the representation it
    deserves,” said Jenifer Rajkumar, a Democratic district leader, in an email. “The B.P.C.A.’s process
    violated fundamental principles of good government and transparency and revealed an organization
    out of touch with the community and insensitive to the negative perceptions it has created. We now
    need to consider whether the Battery Park City Authority should be restructured and reformulated
    so that it will fairly and properly represent the interests of our community.”

    After the meeting, a B.P.C.A press release listed community programming that Brookfield Properties
    proposed: a wide variety of programs, a sailing school accessible to all income levels, a summer camp
    programs, water safety classes and a corporate sailing league.

    The specifics of these programs have not been revealed.

    “We will be working on a comprehensive plan for the marina over the coming months. We are also
    reaching out to members of the community,” said Melissa Coley, vice president for investor relations
    and communications for Brookfield Property Group, when asked about details.

    She issued this statement via email: “Brookfield’s vision will align with the requirements of the
    Battery Park City Authority as outlined to all bidders in its R.F.P. Our vision includes a sailing school
    for the community, summer and learn to sail programs. Our vision is an active, attractive and
    sustainable hub for the community. We will look to our 25 years of experience at Battery Park City in
    programming free community programs and events.”

    For his part, Mehiel said: “Indeed, it is our opinion … that these changes that we intend to implement
    at the marina are going to result in wider, not narrower, community use, access to the marina.”

    IGY and Governor Cuomo’s office did not respond by press time.

    Fortenbaugh said after the meeting that he was not enriching himself by running the marina and that
    he worked seven days a week to make it a success.

    “To say we’re not good enough now, it is a little hard to hear,” he said.

    Fortenbaugh said he has got to keep going and he is moving his operations to Liberty Harbor in New
    Jersey. 

    Asked if he has had any discussions with the Howard Hughes Corporation about their proposed
    marina at the Seaport, he said that IGY is designing it.

    “I don’t think we’re going to be invited there,” he said.




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                    Manhattan Borough President Gale Brewer and Michael Fortenbaugh. Downtown Express
                                                  photo by Dusica Sue Malesevic


     




                             North Cove Marina last month. Downtown Express file photo by Milo Hess


     

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  14 Responses to Authority picks Brookfield to run Battery Park City
  marina, but questions remain unanswered
           Anastacia K Stathakis
           January 22, 2015 ­ 18:31


   Mehiel first shouldn’t even be part of the Battery Park Authority since he resides on the Upper East Side and isn’t even
   part of this community. Second, he’s an idiot and lucky for him it’s not an elected position because he is probably the
   most hated man in downtown NYC at the moment. He doesn’t care, he’s the 1% and he just doesn’t care.


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   Reply


                   Dolores D'Agostino
                   January 24, 2015 ­ 18:46


           You are exactly right and I hope that this is a watershed moment for rising political pressure to either drastically
           change the BPCA from the pay­to­play operation that it is, or to abolish it completely. Mehiel is the prototype of
           the pay­to­play Cuomo camp follower.
           Reply



            BPC Artist
            January 22, 2015 ­ 20:28


   You DO understand, Ms. Stathakis, that the BPCA is a STATE entity, not a local one, do you not? And do you realize
   that North Cove Marina is designation STATE parkland? Have you recently moved here from another state or even
   country and not understand how state and local government here are structured?! Who's the idiot here?
   Reply


                   Dolores D'Agostino
                   January 24, 2015 ­ 18:49


           Are you suggesting that the state runs by different democratic norms than the city? Your question seems to
           answer itself. .
           Reply


            Jeanne Wilcke
            January 23, 2015 ­ 11:00


   If I was a lawyer I would have advised BPCA Chair Mehiel to not defend his board’s decision on the marina at such
   length. That he had to defend points to serious problems with the “process”.

   He pushed blame for community activism by the people on the “victim”, Fortenbagh.
   He disclosed that they allowed Brookfield to modify their RFP after the community outpouring. I sat next to another
   bidder, Suntex Marinas. I asked him if they had been given the opportunity to clarify “expectations and their
   commitments”. They had not, nor had Fortenbaugh. “Protocols” were not subject to change, yet they were changed.
   When the community and taxpayers raise a great number of appearances of impropriety and ethical challenges –
   whether those improprieties or conflicts­of­interest are actual or implied – it is the “protocol” in our democracy to
   address the process.
   And that was the problem. Fortenbaugh is greatly admired for what he has built and his connections to the
   community. But more than him, this was about the process – for him, the other bidders, and the people the BPCA is
   mandated to serve.

   Brookfield was not qualified to bid because a condition was maritime experience which they do not have. They
   brought in Island Global Yachting (IGY) to qualify for the bid. Now we hear IGY will also get the South St. Seaport site
   too, being developed by the Howard Hughes Corporation. Brookfield has a significant investment in Howard Hughes
   Corp. (thought to be 29­30%). Connect the dots on the corporatization of our public land, particularly our waterfront
   land.
   Mehiel stated that yes, his yacht has been docked more than a few times at IGY’s luxury marinas in the Caribbean.
   Yes, the owner of IGY is Andrew Farkas, a good friend of Governor Cuomo’s (who Cuomo worked for at one time and is
   one of Cuomo’s largest campaign contributors, along with principals of Brookfield and BPCA Chair Mehiel). But that at
   no time did any of the parties discuss the bid with Cuomo.

   Parallel to BPCA awarding the marina bid to Brookfield, on the same day the indictment of a major NY State elected
   official unfolded with allegations of the quid pro quo of large payments from real estate developers. The allegations
   indicate that evidence does not necessarily have to be written or in exchanges of emails. It can often be a
   preponderance of circumstantial evidence.
   When drawing this parallel, whether Cuomo and his buddies spoke directly or not on the marina bid, the
   circumstances of their personal and working relationships and the extremely large campaign donations made by the
   parties involved bring forth serious ethical and conflict­of­interest concerns.
   Only a truly transparent process with community input could have allayed these concerns.
   Otherwise this deal and the people involved, including the BPCA, will always be tainted and smell like a rotten fish
   sitting on the marina dock.
   Reply


            ...
            January 23, 2015 ­ 13:19



   US Attorney Preet Bharara should look into this while he's still investigating NY politicians
   .
   Reply


            Dolores D'Agostino
            January 24, 2015 ­ 19:01


   I hope that Gale Brewer and other political representatives – though at this point I don't trust Daniel Squadron whose
   letter to constituents focused more on "additional BPC community representatives" on the BPCA Board than on the

http://www.downtownexpress.com/2015/01/22/authority­picks­brookfield­to­run­battery­park­city­marina­but­questions­remain­unanswered/           5/7
4/7/2017                      CaseAuthority picks Brookfield to run Battery Park City marina, but questions remain unanswered | DOWNTOWN EXPRESS
                                   1:15-cv-06119-AJN-JLC Document 373-29 Filed 06/19/17 Page 8 of 9
   illicit award to Brookfield (which I suspect contributes mightily to Squadron's political campaigns) – go forward with
   challenges to this RFP and the Brookfield (pay­to­play) award. I hope that this is not the end of the story. Mehiel's
   comments during the meeting were incredibly self­serving. He sounds like a neophyte – rich doesn't make one a
   genius – in this job.
   Reply


            MMJames
            January 25, 2015 ­ 13:33


   "Pay to Play "????
   Sounds like that's BPCA
   Reply


            Dolores D'Agostino
            January 25, 2015 ­ 20:13


   Guy Fawkes is much heavier on sarcasm than he is on the "facts". He is making up his own "facts". The RFP process
   lacked transparency and smelled from the get­go. Mehiel is an amateur at dealing with the public and with
   communication (that is the gentlest judgment). When local news sources called the BPCA asking questions they were
   shut down like some fascist authority was in control. All this other verbiage above is concocted by someone with an
   agenda. Not worth responding further.
   Reply


                    ~ ~ ~ ~
                    January 26, 2015 ­ 15:25


           It's fairly obvious that cyberstalkers with vendettas did everything in their power to hurt the
           Sailing Community
           Reply


                            DRep
                            January 26, 2015 ­ 16:50


                   LOL at ridiculous misuse of the term "cyberstalkers"!
                   The sailing community (aka members of the Manhattan Yacht Club) was ultimately hurt most by Mr
                   Fortenbaugh's apparent inability to negotiate a partnership or tenancy with anyone else but his own
                   marina management company. All or nothing = hurt sailing sailing community.
                   No amount of alleged back­handers could have done more to influence this outcome than Mr
                   Fortenbaugh's own self­perceived "ownership" of North Cove Marina.
                   Reply


                                   bridges
                                   April 23, 2015 ­ 15:52


                           Must be one of the BPCA coat hangers who received envelopes of cash for your vote …
                           Now we find out that North Cove Marina will be closed , thanks to devious and underhanded
                           actions , not to mention the cyber­stalkers and trolls who've been voicing hate towards MYC
                           Reply


                            BPCresident
                            January 26, 2015 ­ 17:47


                   So true
                   Reply

                            lynch
                            January 31, 2015 ­ 17:12


                   pathological obsessions run deep ……………………………………. for some people ? ? ?
                   Reply




    Leave a Reply
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4/7/2017               CaseAuthority picks Brookfield to run Battery Park City marina, but questions remain unanswered | DOWNTOWN EXPRESS
                            1:15-cv-06119-AJN-JLC Document 373-29 Filed 06/19/17 Page 9 of 9
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    Name


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             − 2 = zero

           Post Comment




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    St.?
                                           Living History
    Baker sewed rainbow flag that sowed
    Pride worldwide                        Gilbert Baker, Whose Rainbow Flag Sewed
                                           LGBTQ World Together, Dies Suddenly at
    Push to name Morton school for         65
    Jane Jacobs, get after­school funds
                                           BULLETIN –– Gilbert Baker, Rainbow Flag
    Smorgasburg will take a bite of        Creator, Has Died
    Hudson Square

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                                           assures
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                  FOOTER1


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